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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA


 UNITED STATES OF AMERICA                            )
                                                     )
                                                     )
                                                     )
 v.                                                  )       CASE No.: 1:19cr00011-001
                                                     )
 ADRIAN JOSE ROMERO                                  )


                               NOTICE OF APPEAL and
                          MOTION TO WITHDRAW AS COUNSEL

        Notice is hereby given that the defendant, Adrian Jose Romero, by counsel, appeals the

 decision of this Honorable Court rendered on October 30, 2019 to the United States Court of

 Appeals for the Fourth Circuit.

        The undersigned counsel moves to withdraw as counsel for the defendant because she is

 employed full time as the Louisa County Attorney and requests this case be assigned to an attorney

 on the CJA Panel for the Fourth Circuit Court of Appeals.

                                                     Respectfully submitted,

                                                     Adrian Jose Romero
                                                     By Counsel

                                                     s/Helen E. Phillips
                                                     Helen E. Phillips
                                                     Phillips Law Firm, LLC
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the foregoing document was electronically filed and will

 be forwarded to the Assistant United States Attorney this 7th day of November, 2019.

                                                      s/Helen E. Phillips
                                                      Helen E. Phillips
